      Case 19-31423-bjh13 Doc 14 Filed 05/11/19                               Entered 05/11/19 12:39:03            Page 1 of 16
T.R. Weaver & Associates, PC
100 N. Central Expressway, Suite 530
Richardson, TX 75080



Bar Number: 33201
Phone: (469) 330-8000

                                    IN THE UNITED STATES BANKRUPTCY COURT
                                          NORTHERN DISTRICT OF TEXAS
                                                 DALLAS DIVISION
In re: Linda V Lathrop-Dickerson                  xxx-xx-6348             §          Case No:     19-31423-13
       734 Catalina Dr                                                    §
                                                                                     Date:        5/11/2019
       Lancaster, TX 75146                                                §
                                                                          §          Chapter 13
                                                                          §




                                  Debtor(s)



                                                        AMENDED 5/11/2019
                                                  DEBTOR'S(S') CHAPTER 13 PLAN
                                              (CONTAINING A MOTION FOR VALUATION)

                                                            DISCLOSURES
    This Plan does not contain any Nonstandard Provisions.
    This Plan contains Nonstandard Provisions listed in Section III.
    This Plan does not limit the amount of a secured claim based on a valuation of the Collateral for the claim.
    This Plan does limit the amount of a secured claim based on a valuation of the Collateral for the claim.
This Plan does not avoid a security interest or lien.
Language in italicized type in this Plan shall be as defined in the "General Order 2017-01, Standing Order Concerning Chapter 13
Cases" and as it may be superseded or amended ("General Order"). All provisions of the General Order shall apply to this Plan
as if fully set out herein.




                                                                 Page 1
Plan Payment:    $1,500.00                      Value of Non-exempt property per § 1325(a)(4):        $19.00
Plan Term:     60 months                        Monthly Disposable Income per § 1325(b)(2):         $0.00
Plan Base:     $90,000.00                       Monthly Disposable Income x ACP ("UCP"):          $0.00
Applicable Commitment Period: 36 months
      Case 19-31423-bjh13 Doc 14 Filed 05/11/19                                 Entered 05/11/19 12:39:03                  Page 2 of 16
Case No:      19-31423-13
Debtor(s):    Linda V Lathrop-Dickerson




                                                          MOTION FOR VALUATION

Pursuant to Bankruptcy Rule 3012, for purposes of 11 U.S.C. § 506(a) and § 1325(a)(5) and for purposes of determination of the
amounts to be distributed to holders of secured claims who do not accept the Plan, Debtor(s) hereby move(s) the Court to value the
Collateral described in Section I, Part E.(1) and Part F of the Plan at the lesser of the value set forth therein or any value claimed on
the proof of claim. Any objection to valuation shall be filed at least seven (7) days prior to the date of the Trustee's pre-hearing
conference regarding Confirmation or shall be deemed waived.


                                                        SECTION I
                                    DEBTOR'S(S') CHAPTER 13 PLAN - SPECIFIC PROVISIONS
                                                   FORM REVISED 7/1/17
A.   PLAN PAYMENTS:
          Debtor(s) propose(s) to pay to the Trustee the sum of:
             $1,500.00     per month, months    1         to   60    .

          For a total of    $90,000.00      (estimated " Base Amount ").
          First payment is due      5/24/2019       .
          The applicable commitment period ("ACP") is          36    months.
          Monthly Disposable Income ("DI") calculated by Debtor(s) per § 1325(b)(2) is:            $0.00          .
          The Unsecured Creditors' Pool ("UCP"), which is DI x ACP, as estimated by the Debtor(s), shall be no less than:
               $0.00      .
          Debtor's(s') equity in non-exempt property, as estimated by Debtor(s) per § 1325(a)(4), shall be no less than:
              $19.00          .

B. STATUTORY, ADMINISTRATIVE AND DSO CLAIMS:
     1.   CLERK'S FILING FEE: Total filing fees paid through the Plan, if any, are               $0.00          and shall be paid in full
          prior to disbursements to any other creditor.
     2.   STATUTORY TRUSTEE'S PERCENTAGE FEE(S) AND NOTICING FEES: Trustee's Percentage Fee(s) and any
          noticing fees shall be paid first out of each receipt as provided in General Order 2017-01 (as it may be superseded or
          amended) and 28 U.S.C. § 586(e)(1) and (2).

     3.   DOMESTIC SUPPORT OBLIGATIONS: The Debtor is responsible for paying any Post-petition Domestic Support
          Obligation directly to the DSO claimant. Pre-petition Domestic Support Obligations per Schedule "E/F" shall be paid in
          the following monthly payments:


                      DSO CLAIMANTS                             SCHED. AMOUNT            %        TERM (APPROXIMATE)              TREATMENT
                                                                                                   (MONTHS __ TO __)              $__ PER MO.

C. ATTORNEY FEES: To          T.R. Weaver & Associates, PC         , total:                  $3,700.00      ;
      $400.00   Pre-petition;     $3,300.00    disbursed by the Trustee.

D.(1) PRE-PETITION MORTGAGE ARREARAGE:

                 MORTGAGEE                           SCHED.               DATE               %      TERM (APPROXIMATE)             TREATMENT
                                                    ARR. AMT         ARR. THROUGH                    (MONTHS __ TO __)
BSI                                                      $9,058.27       Thru 4-1-2019   0.00%           Month(s) 4-55                      Pro-Rata
Homestead/ 1st lien Pre-petition
Dyck-O'Neal, INC                                        $18,253.23       thru 4-1/2019   5.00%           Month(s) 4-55                      Pro-Rata
Mortgage/ Homestead




                                                                     Page 2
      Case 19-31423-bjh13 Doc 14 Filed 05/11/19                            Entered 05/11/19 12:39:03                  Page 3 of 16
Case No:     19-31423-13
Debtor(s):   Linda V Lathrop-Dickerson



D.(2) CURRENT POST-PETITION MORTGAGE PAYMENTS DISBURSED BY THE TRUSTEE IN A CONDUIT CASE:

                       MORTGAGEE                                  # OF PAYMENTS            CURRENT POST-              FIRST CONDUIT
                                                                 PAID BY TRUSTEE         PETITION MORTGAGE          PAYMENT DUE DATE
                                                                                          PAYMENT AMOUNT                (MM-DD-YY)
BSI                                                                    60 month(s)                      $596.11                  7/1/2019
Homestead/ 1st lien

D.(3) POST-PETITION MORTGAGE ARREARAGE:

               MORTGAGEE                           TOTAL           DUE DATE(S)           %       TERM (APPROXIMATE)          TREATMENT
                                                    AMT.           (MM-DD-YY)                     (MONTHS __ TO __)
BSI                                                  $1,192.22     5/1/2019 thru        0.00%        Month(s) 4-55                    Pro-Rata
Homestead/ 1st lien                                                   6/1/2019

E.(1) SECURED CREDITORS - PAID BY THE TRUSTEE:

A.
                 CREDITOR /                     SCHED. AMT.           VALUE             %        TERM (APPROXIMATE)          TREATMENT
                COLLATERAL                                                                        (MONTHS __ TO __)            Per Mo.

B.
                 CREDITOR /                     SCHED. AMT.           VALUE             %                                    TREATMENT
                COLLATERAL                                                                                                     Pro-rata
Conns Credit Corp                                    $1,273.00         $1,300.00       0.00%                                          Pro-Rata
Dishawasher

To the extent the value amount in E.(1) is less than the scheduled amount in E.(1), the creditor may object. In the event a creditor
objects to the treatment proposed in paragraph E.(1), the Debtor(s) retain(s) the right to surrender the Collateral to the creditor in
satisfaction of the creditor's claim.

E.(2) SECURED 1325(a)(9) CLAIMS PAID BY THE TRUSTEE - NO CRAM DOWN:

A.
                          CREDITOR /                              SCHED. AMT.           %        TERM (APPROXIMATE)          TREATMENT
                         COLLATERAL                                                               (MONTHS __ TO __)            Per Mo.

B.
                          CREDITOR /                              SCHED. AMT.           %                                    TREATMENT
                         COLLATERAL                                                                                            Pro-rata

The valuation of Collateral set out in E.(1) and the interest rate to be paid on the above scheduled claims in E.(1) and E.(2) will
be finally determined at confirmation. The allowed claim amount will be determined based on a timely filed proof of claim and
the Trustee's Recommendation Concerning Claims ("TRCC") or by an order on an objection to claim.

Absent any objection to the treatment described in E.(1) or E.(2), the creditor(s) listed in E.(1) and E.(2) shall be deemed to have
accepted the Plan per section 1325(a)(5)(A) of the Bankruptcy Code and to have waived its or their rights under section
1325(a)(5)(B) and (C) of the Bankruptcy Code.

F.   SECURED CREDITORS - COLLATERAL TO BE SURRENDERED:

                            CREDITOR /                                 SCHED. AMT.           VALUE                   TREATMENT
                           COLLATERAL




                                                                 Page 3
       Case 19-31423-bjh13 Doc 14 Filed 05/11/19                          Entered 05/11/19 12:39:03                  Page 4 of 16
Case No:     19-31423-13
Debtor(s):   Linda V Lathrop-Dickerson



Upon confirmation, pursuant to 11 U.S.C. § 1322(b)(8), the surrender of the Collateral described herein will provide for the
payment of all or part of a claim against the Debtor(s) in the amount of the value given herein.

The valuation of Collateral in F will be finally determined at confirmation. The allowed claim amount will be determined based
on a timely filed proof of claim and the Trustee's Recommendation Concerning Claims ("TRCC") or by an order on an objection
to claim.

The Debtor(s) request(s) that the automatic stay be terminated as to the surrendered Collateral. If there is no objection to the
surrender, the automatic stay shall terminate and the Trustee shall cease disbursements on any secured claim which is
secured by the Surrendered Collateral, without further order of the Court, on the 7th day after the date the Plan is filed. However,
the stay shall not be terminated if the Trustee or affected secured lender files an objection in compliance with paragraph 8 of the
General Order until such objection is resolved.

Nothing in this Plan shall be deemed to abrogate any applicable non-bankruptcy statutory or contractual rights of the Debtor(s).

G. SECURED CREDITORS - PAID DIRECT BY DEBTOR:

                        CREDITOR                                                   COLLATERAL                              SCHED. AMT.

H. PRIORITY CREDITORS OTHER THAN DOMESTIC SUPPORT OBLIGATIONS:

                               CREDITOR                                       SCHED. AMT.     TERM (APPROXIMATE)           TREATMENT
                                                                                               (MONTHS __ TO __)
IRS                                                                              $6,876.00       Month(s) 4-55                     Pro-Rata

I.    SPECIAL CLASS:

                               CREDITOR                                       SCHED. AMT.     TERM (APPROXIMATE)           TREATMENT
                                                                                               (MONTHS __ TO __)

JUSTIFICATION:



J.    UNSECURED CREDITORS:

                        CREDITOR                             SCHED. AMT.                              COMMENT
Ad Astra Recovery                                                     $0.00
AP account Services, LLC                                              $0.00
City Credit Union                                                   $101.00
Credit Management, LP                                                 $0.00
Merchant Credit Adjusters, INc                                        $0.00
Methodist Hosp Efcu                                                   $0.00
Nrthstar Sys                                                          $0.00
PRA III, LLC                                                      $1,200.00
Pro Collect, Inc                                                      $0.00
Riverver Financial                                                $1,120.20

TOTAL SCHEDULED UNSECURED:                                        $2,421.20
The Debtor's(s') estimated (but not guaranteed) payout to unsecured creditors based on the scheduled amount is ____________.
                                                                                                                    100%

General unsecured claims will not receive any payment until after the order approving the TRCC becomes final.




                                                                Page 4
      Case 19-31423-bjh13 Doc 14 Filed 05/11/19                              Entered 05/11/19 12:39:03                    Page 5 of 16
Case No:     19-31423-13
Debtor(s):   Linda V Lathrop-Dickerson


K. EXECUTORY CONTRACTS AND UNEXPIRED LEASES:

                    § 365 PARTY                        ASSUME/REJECT          CURE AMOUNT         TERM (APPROXIMATE)            TREATMENT
                                                                                                   (MONTHS __ TO __)

                                                        SECTION II
                                    DEBTOR'S(S') CHAPTER 13 PLAN - GENERAL PROVISIONS
                                                    FORM REVISED 7/1/17
A.   SUBMISSION OF DISPOSABLE INCOME:
Debtor(s) hereby submit(s) future earnings or other future income to the Trustee to pay the Base Amount.

B. ADMINISTRATIVE EXPENSES, DSO CLAIMS & PAYMENT OF TRUSTEE'S STATUTORY PERCENTAGE FEE(S) AND
   NOTICING FEES:

The Statutory Percentage Fees of the Trustee shall be paid in full pursuant to 11 U.S.C. §§ 105(a), 1326(b)(2), and 28 U.S.C.
§ 586(e)(1)(B). The Trustee is authorized to charge and collect Noticing Fees as indicated in Section I, Part "B" hereof.

C. ATTORNEY FEES:
Debtor's(s') Attorney Fees totaling the amount indicated in Section I, Part C, shall be disbursed by the Trustee in the amount
shown as "Disbursed By The Trustee" pursuant to this Plan and the Debtor's(s') Authorization for Adequate Protection
Disbursements ("AAPD "), if filed.

D.(1) PRE-PETITION MORTGAGE ARREARAGE:
The Pre-Petition Mortgage Arrearage shall be paid by the Trustee in the allowed pre-petition arrearage amount and at the rate of
interest indicated in Section I, Part D.(1). To the extent interest is provided, it will be calculated from the date of the Petition. The
principal balance owing upon confirmation of the Plan on the allowed pre-petition Mortgage Arrearage amount shall be reduced
by the total adequate protection less any interest (if applicable) paid to the creditor by the Trustee. Such creditors shall retain
their liens.

D.(2) CURRENT POST-PETITION MORTGAGE PAYMENTS DISBURSED BY TRUSTEE IN A CONDUIT CASE:
Current Post-Petition Mortgage Payment(s) shall be paid by the Trustee as indicated in Section I, Part D.(2), or as otherwise
provided in the General Order.

The Current Post-Petition Mortgage Payment(s) indicated in Section I, Part D.(2) reflects what the Debtor(s) believe(s) is/are the
periodic payment amounts owed to the Mortgage Lender as of the date of the filing of this Plan. Adjustment of the Plan Payment
and Base Amount shall be calculated as set out in the General Order, paragraph 15(c)(3).

Payments received by the Trustee for payment of the Debtor's Current Post-Petition Mortgage Payment(s) shall be deemed
adequate protection to the creditor.

Upon completion of the Plan, Debtor(s) shall resume making the Current Post-Petition Mortgage Payments required by their
contract on the due date following the date specified in the Trustee's records as the date through which the Trustee made the
last Current Post-Petition Mortgage Payment.

Unless otherwise ordered by the Court, and subject to Bankruptcy Rule 3002.1(f)-(h), if a Conduit Debtor is current on his/her
Plan Payments or the payment(s) due pursuant to any wage directive, the Mortgage Lender shall be deemed current post-petition.

D.(3) POST-PETITION MORTGAGE ARREARAGE:
The Post-Petition Mortgage Arrearage shall be paid by the Trustee in the allowed amount and at the rate of interest indicated in
Section I, Part D.(3). To the extent interest is provided, it will be calculated from the date of the Petition.

Mortgage Lenders shall retain their liens.




                                                                   Page 5
        Case 19-31423-bjh13 Doc 14 Filed 05/11/19                             Entered 05/11/19 12:39:03                   Page 6 of 16
Case No:     19-31423-13
Debtor(s):   Linda V Lathrop-Dickerson


E.(1)   SECURED CLAIMS TO BE PAID BY TRUSTEE:
The claims listed in Section I, Part E.(1) shall be paid by the Trustee as secured to the extent of the lesser of the allowed claim
amount (per a timely filed Proof of Claim not objected to by a party in interest) or the value of the Collateral as stated in the Plan.
Any amount claimed in excess of the value shall automatically be split and treated as unsecured as indicated in Section I, Part H
or J, per 11 U.S.C. § 506(a). Such creditors shall retain their liens on the Collateral described in Section I, Part E.(1) as set out in
11 U.S.C. § 1325(a)(5)(B)(I) and shall receive interest at the rate indicated from the date of confirmation or, if the value shown is
greater than the allowed claim amount, from the date of the Petition, up to the amount by which the claim is over-secured. The
principal balance owing upon confirmation of the Plan on the allowed secured claim shall be reduced by the total of adequate
protection payments less any interest (if applicable) paid to the creditor by the Trustee.

E.(2)   SECURED 1325(a)(9) CLAIMS TO BE PAID BY THE TRUSTEE--NO CRAM DOWN:
Claims in Section I, Part E.(2) are either debts incurred within 910 days of the Petition Date secured by a purchase money
security interest in a motor vehicle acquired for the personal use of the Debtor(s) or debts incurred within one year of the
Petition Date secured by any other thing of value.

The claims listed in Section I, Part E.(2) shall be paid by the Trustee as fully secured to the extent of the allowed amount (per a
timely filed Proof of Claim not objected to by a party in interest). Such creditors shall retain their liens on the Collateral described
in Section I, Part E.(2) until the earlier of the payment of the underlying debt determined under non-bankruptcy law or a discharge
under § 1328 and shall receive interest at the rate indicated from the date of confirmation. The principal balance owing upon
confirmation of the Plan on the allowed secured claim shall be reduced by the total of adequate protection payments paid to the
creditor by the Trustee.

To the extent a secured claim not provided for in Section I, Part D, E.(1) or E.(2) is allowed by the Court, Debtor(s) will pay the
claim direct per the contract or statute.

Each secured claim shall constitute a separate class.
F.   SATISFACTION OF CLAIM BY SURRENDER OF COLLATERAL:
The claims listed in Section I, Part F shall be satisfied as secured to the extent of the value of the Collateral , as stated in the
Plan , by surrender of the Collateral by the Debtor(s) on or before confirmation. Any amount claimed in excess of the value of the
Collateral , to the extent it is allowed, shall be automatically split and treated as indicated in Section I, Part H or J, per
11 U.S.C. § 506(a).
Each secured claim shall constitute a separate class.

G. DIRECT PAYMENTS BY DEBTOR(S):
Payments on all secured claims listed in Section I, Part G shall be disbursed by the Debtor(s) to the claimant in accordance with
the terms of their agreement or any applicable statute, unless otherwise provided in Section III, "Nonstandard Provisions."

No direct payment to the IRS from future income or earnings in accordance with 11 U.S.C. § 1322(a)(1) will be permitted.

Each secured claim shall constitute a separate class.

H. PRIORITY CLAIMS OTHER THAN DOMESTIC SUPPORT OBLIGATIONS:
Failure to object to confirmation of this Plan shall not be deemed acceptance of the "SCHED. AMT." shown in Section I, Part H.
The claims listed in Section I, Part H shall be paid their allowed amount by the Trustee, in full, pro-rata, as priority claims, without
interest.

I.   CLASSIFIED UNSECURED CLAIMS:

Classified unsecured claims shall be treated as allowed by the Court.
J.   GENERAL UNSECURED CLAIMS TIMELY FILED:

All other allowed claims not otherwise provided for herein shall be designated general unsecured claims.

K. EXECUTORY CONTRACTS AND UNEXPIRED LEASES:
As provided in § 1322(b)(7) of the Bankruptcy Code, the Debtor(s) assume(s) or reject(s) the executory contracts or unexpired
leases with parties as indicated in Section I, Part K.

Assumed lease and executory contract arrearage amounts shall be disbursed by the Trustee as indicated in Section I, Part K.




                                                                   Page 6
      Case 19-31423-bjh13 Doc 14 Filed 05/11/19                             Entered 05/11/19 12:39:03                   Page 7 of 16
Case No:     19-31423-13
Debtor(s):   Linda V Lathrop-Dickerson


L.   CLAIMS TO BE PAID:
"TERM (APPROXIMATE)" as used in this Plan states the estimated number of months from the Petition Date required to fully pay
the allowed claim. If adequate protection payments have been authorized and made, they will be applied to principal as to both
under-secured and fully secured claims and allocated between interest and principal as to over-secured claims. Payment
pursuant to this Plan will only be made on statutory, secured, administrative, priority and unsecured claims that are allowed or,
pre-confirmation, that the Debtor(s) has/have authorized in a filed Authorization for Adequate Protection Disbursements.

M. ADDITIONAL PLAN PROVISIONS:
Any additional Plan provisions shall be set out in Section III, "Nonstandard Provisions."

N. POST-PETITION NON-ESCROWED AD VALOREM (PROPERTY) TAXES AND INSURANCE:
Whether the Debtor is a Conduit Debtor or not, if the regular payment made by the Debtor to a Mortgage Lender or any other
lienholder secured by real property does not include an escrow for the payment of ad valorem (property) taxes or insurance, the
Debtor is responsible for the timely payment of post-petition taxes directly to the tax assessor and is responsible for maintaining
property insurance as required by the mortgage security agreement, paying all premiums as they become due directly to the
insurer. If the Debtor fails to make these payments, the mortgage holder may, but is not required to, pay the taxes and/or the
insurance. If the mortgage holder pays the taxes and/or insurance, the mortgage holder may file, as appropriate, a motion for
reimbursement of the amount paid as an administrative claim or a Notice of Payment Change by Mortgage Lender or a Notice of
Fees, Expenses, and Charges.

O. CLAIMS NOT FILED:
A claim not filed with the Court will not be paid by the Trustee post-confirmation regardless of its treatment in Section I or on the
AAPD.

P.   CLAIMS FOR PRE-PETITION NON-PECUNIARY PENALTIES, FINES, FORFEITURES, MULTIPLE, EXEMPLARY OR
     PUNITIVE DAMAGES:

Any unsecured claim for a non-pecuniary penalty, fine, or forfeiture, or for multiple, exemplary or punitive damages, expressly
including an IRS penalty to the date of the petition on unsecured and/or priority claims, shall be paid only a pro-rata share of any
funds remaining after all other unsecured claims, including late filed claims, have been paid in full.

Q. CLAIMS FOR POST-PETITION PENALTIES AND INTEREST:

No interest, penalty, or additional charge shall be allowed on any pre-petition claims subsequent to the filing of the petition,
unless expressly provided herein.

R. BUSINESS CASE OPERATING REPORTS:
Upon the filing of the Trustee's 11 U.S.C. § 1302(c) Business Case Report, business Debtors are no longer required to file
operating reports with the Trustee, unless the Trustee requests otherwise. The filing of the Trustee's 11 U.S.C. § 1302(c)
Business Case Report shall terminate the Trustee's duties but not the Trustee's right to investigate or monitor the Debtor's(s')
business affairs, assets or liabilities.

S.   NO TRUSTEE'S LIABILITY FOR DEBTOR'S POST-CONFIRMATION OPERATION AND BAR DATE FOR CLAIMS FOR
     PRE-CONFIRMATION OPERATIONS:

The Trustee shall not be liable for any claim arising from the post-confirmation operation of the Debtor's(s') business. Any
claims against the Trustee arising from the pre-confirmation operation of the Debtor's(s') business must be filed with the
Bankruptcy Court within sixty (60) days after entry by the Bankruptcy Court of the Order of Confirmation or be barred.

T.   DISPOSAL OF DEBTOR'S NON-EXEMPT PROPERTY; RE-VESTING OF PROPERTY; NON-LIABILITY OF TRUSTEE FOR
     PROPERTY IN POSSESSION OF DEBTOR WHERE DEBTOR HAS EXCLUSIVE RIGHT TO USE, SELL, OR LEASE IT; AND
     TRUSTEE PAYMENTS UPON POST CONFIRMATION CONVERSION OR DISMISSAL:

Debtor(s) shall not dispose of or encumber any non-exempt property or release or settle any lawsuit or claim by Debtor(s), prior
to discharge, without consent of the Trustee or order of the Court after notice to the Trustee and all creditors.




                                                                  Page 7
      Case 19-31423-bjh13 Doc 14 Filed 05/11/19                              Entered 05/11/19 12:39:03                   Page 8 of 16
Case No:     19-31423-13
Debtor(s):   Linda V Lathrop-Dickerson


Property of the estate shall not vest in the Debtor until such time as a discharge is granted or the Case is dismissed or closed
without discharge. Vesting shall be subject to all liens and encumbrances in existence when the Case was filed and all valid
post-petition liens, except those liens avoided by court order or extinguished by operation of law. In the event the Case is
converted to a case under chapter 7, 11, or 12 of the Bankruptcy Code, the property of the estate shall vest in accordance with
applicable law. After confirmation of the Plan, the Trustee shall have no further authority, fiduciary duty or liability regarding the
use, sale, insurance of or refinance of property of the estate except to respond to any motion for the proposed use, sale, or
refinance of such property as required by the applicable laws and/or rules. Prior to any discharge or dismissal, the Debtor(s)
must seek approval of the court to purchase, sell, or refinance real property.

Upon dismissal of the Case post confirmation, the Trustee shall disburse all funds on hand in accordance with this Plan. Upon
conversion of the Case, any balance on hand will be disbursed by the Trustee in accordance with applicable law.

U. ORDER OF PAYMENT:

Unless otherwise ordered by the court, all claims and other disbursements made by the Chapter 13 Trustee after the entry of an
order confirming the Chapter 13 Plan, whether pursuant to this Plan or a modification thereof, will be paid in the order set out
below, to the extent a creditor's claim is allowed or the disbursement is otherwise authorized. Each numbered paragraph below
is a level of payment. All disbursements which are in a specified monthly amount are referred to as "per mo." At the time of any
disbursement, if there are insufficient funds on hand to pay any per mo payment in full, claimant(s) with a higher level of payment
shall be paid any unpaid balance owed on a per mo payment plus the current per mo payment owed to that same claimant, in
full, before any disbursement to a claimant with a lower level of payment. If multiple claimants are scheduled to receive per mo
payments within the same level of payment and there are insufficient funds to make those payments in full, available funds will
be disbursed to the claimants within that level on a pro-rata basis. Claimants with a higher level of payment which are
designated as receiving pro-rata payments shall be paid, in full, before any disbursements are made to any claimant with a
lower level of payment.

1st -- Clerk's Filing Fee and Trustee's Percentage Fee(s) and Noticing Fees in B.(1) and B.(2) and per statutory provisions will
be paid in full.

2nd -- Current Post-Petition Mortgage Payments (Conduit) in D.(2) and as adjusted according to the General Order, which must
be designated to be paid per mo.

3rd -- Creditors listed in E.(1)(A) and E.(2)(A), which must be designated to be paid per mo, and Domestic Support Obligations
("DSO") in B.(3), which must be designated to be paid per mo.

4th -- Attorney Fees in C, which must be designated to be paid pro-rata.

5th -- Post-Petition Mortgage Arrearage as set out in D.(3), if designated to be paid per mo.

6th -- Post-Petition Mortgage Arrearage as set out in D.(3), if designated to be paid pro-rata.

7th -- Arrearages owed on Executory Contracts and Unexpired Leases in K, which must be designated to be paid per mo.

8th -- Any Creditors listed in D.(1), if designated to be paid per mo.

9th -- Any Creditors listed in D.(1), if designated to be paid pro-rata and/or Creditors listed in E.(1)(B) or E.(2)(B), which must be
designated to be paid pro-rata.

10th -- All amounts allowed pursuant to a Notice of Fees, Expenses and Charges, which will be paid pro-rata.
11th -- Priority Creditors Other than Domestic Support Obligations ("Priority Creditors") in H, which must be designated to be
paid pro-rata.

12th -- Special Class in I, which must be designated to be paid per mo.

13th -- Unsecured Creditors in J, other than late filed or penalty claims, which must be designated to be paid pro-rata.

14th -- Late filed claims by Secured Creditors in D.(1), D.(2), D.(3), E.(1) and E.(2), which must be designated to be paid pro-rata,
unless other treatment is authorized by the Court.

15th -- Late filed claims for DSO or filed by Priority Creditors in B.(3) and H, which must be designated to be paid pro-rata.




                                                                  Page 8
      Case 19-31423-bjh13 Doc 14 Filed 05/11/19                           Entered 05/11/19 12:39:03                  Page 9 of 16
Case No:     19-31423-13
Debtor(s):   Linda V Lathrop-Dickerson


16th -- Late filed claims by Unsecured Creditors in J, which must be designated to be paid pro-rata.

17th -- Unsecured claims for a non-pecuniary penalty, fine, or forfeiture, or for multiple, exemplary or punitive damages,
expressly including an IRS penalty to the date of the petition on unsecured and/or priority claims. These claims must be
designated to be paid pro-rata.


V.   POST-PETITION CLAIMS:
Claims filed under § 1305 of the Bankruptcy Code shall be paid as allowed. To the extent necessary, Debtor(s) will modify this Plan.

W. TRUSTEE'S RECOMMENDATION CONCERNING CLAIMS ("TRCC") PROCEDURE:
See the provisions of the General Order regarding this procedure.




                                                                Page 9
     Case 19-31423-bjh13 Doc 14 Filed 05/11/19                            Entered 05/11/19 12:39:03                  Page 10 of 16
Case No:     19-31423-13
Debtor(s):   Linda V Lathrop-Dickerson


                                                         SECTION III
                                                   NONSTANDARD PROVISIONS

The following nonstandard provisions, if any, constitute terms of this Plan. Any nonstandard provision placed elsewhere in the
Plan is void.
None.
I, the undersigned, hereby certify that the Plan contains no nonstandard provisions other than those set out in this final paragraph.

/s/ T.R. Weaver
T.R. Weaver, Debtor's(s') Attorney                                        Debtor (if unrepresented by an attorney)


Debtor's(s') Chapter 13 Plan (Containing a Motion for Valuation) is respectfully submitted.

/s/ T.R. Weaver                                                           33201
T.R. Weaver, Debtor's(s') Counsel                                         State Bar Number




                                                               Page 10
     Case 19-31423-bjh13 Doc 14 Filed 05/11/19                            Entered 05/11/19 12:39:03                Page 11 of 16
Case No:     19-31423-13
Debtor(s):   Linda V Lathrop-Dickerson




                                                    CERTIFICATE OF SERVICE

I, the undersigned, hereby certify that the foregoing Debtor's(s') Chapter 13 Plan (Containing a Motion for Valuation) was served on
the following entities either by Electronic Service or by First Class Mail, Postage Pre-paid on the    11th day of May, 2019         :

(List each party served, specifying the name and address of each party)


Dated:              May 11, 2019                                          /s/ T.R. Weaver
                                                                          T.R. Weaver, Debtor's(s') Counsel

Ad Astra Recovery                                   Dyck-O'Neal, INC                                    Methodist Hosp Efcu
xxx1798                                             6060 N. Central Expressway, Siote                   xxxxxxxxxxxx3001
7330 W 33rd St Ste 118                              200                                                 1441 N Beckley Ave
Wichita, KS 67205                                   Dallas, TX 75206                                    Dallas, TX 75203



AP account Services, LLC                            Emery C. Shannon                                    Nrthstar Sys
P.O. Box 692365                                     P.O. Box 72910                                      xxxxx4063
San Antonio, TX 78269-2365                          Dallas, TX 75372                                    1280 S 800 E
                                                                                                        Orem, UT 84097



BSI                                                 IRS                                                 Office of Standing Trustee
1425 Greenway Drive, ste 400                        P.O. Box 7346                                       Thomas Powers
Irving, TX 75038                                    Philidelphia, PA 19101                              105 Decker Ct. Suite 102
                                                                                                        Irving, TX 75062



City Credit Union                                   IRS                                                 PRA III, LLC
xxxxxx0121                                          Centralized Insolvency                              xxxx-xxxx-xxxx-3001
7474 Ferguson Rd                                    P.O. Box 7346                                       P.O. Box 12914
Dallas, TX 75228                                    Philadelphia, PA 19101-7346                         Norfolk, VA 23541



Conns Credit Corp                                   Linda V Lathrop-Dickerson                           Pro Collect, Inc
xxxxx6232                                           734 Catalina Dr                                     xxxxxxxxxxx6041
3295 College St                                     Lancaster, TX 75146                                 12170 N. Abrams Rd, Ste 100
Beaumont, TX 77701                                                                                      Dallas, TX 75243



Credit Management, LP                               Merchant Credit Adjusters, INc                      Riverver Financial
4200 International Pkwy                             Twenty Five D Building                              P.O. Box 3023
Carrollton, TX 75007                                4005 South 148th Street                             Hutchinson, KS 67504-3023
                                                     Ohama, NE 68137-5561




                                                               Page 11
     Case 19-31423-bjh13 Doc 14 Filed 05/11/19     Entered 05/11/19 12:39:03   Page 12 of 16
Case No:     19-31423-13
Debtor(s):   Linda V Lathrop-Dickerson


Thomas D. Powers
105 Decker Ct. Suite 102
Irving, TX 75062




U.S. Attorney
1100 Commerce, 3rd floor
Dallas, TX 75242




U.S. Attorney General
U.S. Department Justice
950 Pennsylvania Ave, NW
Washington, DC 20530



U.S. Trustee
William T. Neary
1100 Commerce, Rm 976
Dallas, TX 75242



Volkswagen Credit, Inc
xxxxx7908
PO Box 3
Hillsboro, OR 97123




                                         Page 12
       Case 19-31423-bjh13 Doc 14 Filed 05/11/19                            Entered 05/11/19 12:39:03                         Page 13 of 16
T.R. Weaver & Associates, PC
100 N. Central Expressway, Suite 530
Richardson, TX 75080



Bar Number: 33201
Phone: (469) 330-8000
                                           IN THE UNITED STATES BANKRUPTCY COURT
                                                 NORTHERN DISTRICT OF TEXAS
                                                        DALLAS DIVISION
                                                             Revised 10/1/2016

IN RE: Linda V Lathrop-Dickerson                   xxx-xx-6348      §      CASE NO: 19-31423-13
       734 Catalina Dr                                              §
       Lancaster, TX 75146                                          §
                                                                    §
                                                                    §




                                  Debtor(s)

                                                          AMENDED 5/11/2019
AUTHORIZATION FOR ADEQUATE PROTECTION DISBURSEMENTS                                                       5/11/2019
                                                                                                   DATED:________________
The undersigned Debtor(s) hereby request that payments received by the Trustee prior to confirmation be disbursed as
indicated below:

 Periodic Payment Amount                                                                                                             $1,500.00
 Disbursements                                                                                   First (1)                  Second (2) (Other)
 Account Balance Reserve                                                                           $5.00               $5.00 carried forward
 Trustee Percentage Fee                                                                          $149.50                              $150.00
 Filing Fee                                                                                        $0.00                                $0.00
 Noticing Fee                                                                                     $19.95                                $0.00
 Subtotal Expenses/Fees                                                                          $174.45                              $150.00
 Available for payment of Adequate Protection, Attorney Fees and
 Current Post-Petition Mortgage Payments:                                                      $1,325.55                            $1,350.00


CREDITORS SECURED BY VEHICLES (CAR CREDITORS):
                                                                                                               Adequate              Adequate
                                                                           Scheduled           Value of        Protection           Protection
 Name                                 Collateral                             Amount           Collateral      Percentage       Payment Amount

                                    Total Adequate Protection Payments for Creditors Secured by Vehicles:                                $0.00

CURRENT POST-PETITION MORTGAGE PAYMENTS (CONDUIT):

                                                                                             Scheduled          Value of
 Name                                 Collateral                            Start Date         Amount          Collateral      Payment Amount
 BSI                                  Homestead/ 1st lien                   7/1/2019         $76,442.67      $157,600.00               $596.11

                                          Payments for Current Post-Petition Mortgage Payments (Conduit):                             $596.11

CREDITORS SECURED BY COLLATERAL OTHER THAN A VEHICLE:
                                                                                                               Adequate              Adequate
                                                                           Scheduled           Value of        Protection           Protection
 Name                                 Collateral                             Amount           Collateral      Percentage       Payment Amount




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         Case 19-31423-bjh13 Doc 14 Filed 05/11/19                           Entered 05/11/19 12:39:03               Page 14 of 16
Case No:     19-31423-13
Debtor(s):   Linda V Lathrop-Dickerson



                Total Adequate Protection Payments for Creditors Secured by Collateral other than a vehicle:                     $0.00

                                               TOTAL PRE-CONFIRMATION PAYMENTS

 First Month Disbursement (after payment of Clerk's Filing Fee, any Noticing Fee, Chapter 13 Trustee
 Percentage Fee, and retention of the Account Balance Reserve):

      Current Post-Petition Mortgage Payments (Conduit payments), per mo:                                                        $0.00
      Adequate Protection to Creditors Secured by Vehicles ("Car Creditor"), per mo:                                             $0.00
      Debtor's Attorney, per mo:                                                                                             $1,325.55
      Adequate Protection to Creditors Secured by other than a Vehicle, per mo:                                                  $0.00

 Disbursements starting month 2 (after payment of Clerk's Filing Fee, any Noticing Fee, Chapter 13
 Trustee Percentage Fee, and retention of the Account Balance Reserve):

      Current Post-Petition Mortgage Payments (Conduit payments), per mo:                                                     $596.11
      Adequate Protection to Creditors Secured by Vehicles ("Car Creditor"), per mo:                                            $0.00
      Debtor's Attorney, per mo:                                                                                              $753.89
      Adequate Protection to Creditors Secured by other than a Vehicle, per mo:                                                 $0.00



 Order of Payment:
 Unless otherwise ordered by the court, all claims and other disbursements made by the Chapter 13 Trustee prior to entry of an
 order confirming the Chapter 13 Plan will be paid in the order set out above. All disbursements which are in a specified monthly
 amount are referred to as "per mo". At the time of any disbursement, if there are insufficient funds on hand to pay any per mo
 payment in full, claimant(s) with a higher level of payment shall be paid any unpaid balance owed on the per mo payment plus
 the current per mo payment owed to that same claimant, in full, before any disbursement to a claimant with a lower level of
 payment. Other than the Current Post-Petition Mortgage Payments, the principal balance owing upon confirmation of the Plan on
 the allowed secured claim shall be reduced by the total of adequate protection payments, less any interest (if applicable), paid to
 the creditor by the Trustee.




 DATED:________________________
         5/11/2019

 /s/ T.R. Weaver
 Attorney for Debtor(s)




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       Case 19-31423-bjh13 Doc 14 Filed 05/11/19                      Entered 05/11/19 12:39:03           Page 15 of 16
                                      UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF TEXAS
                                               DALLAS DIVISION

  IN RE: Linda V Lathrop-Dickerson                                             CASE NO.     19-31423-13
                                    Debtor


                                                                               CHAPTER      13
                                  Joint Debtor

                                                 CERTIFICATE OF SERVICE


   I, the undersigned, hereby certify that on May 11, 2019, a copy of the attached Chapter 13 Plan, with any attachments,
was served on each party in interest listed below, by placing each copy in an envelope properly addressed, postage fully
prepaid in compliance with Local Rule 9013 (g).




                                 /s/ T.R. Weaver
                                 T.R. Weaver
                                 Bar ID:33201
                                 T.R. Weaver & Associates, PC
                                 100 N. Central Expressway, Suite 530
                                 Richardson, TX 75080
                                 (469) 330-8000



Ad Astra Recovery                                Conns Credit Corp                           IRS
xxx1798                                          xxxxx6232                                   P.O. Box 7346
7330 W 33rd St Ste 118                           3295 College St                             Philidelphia, PA 19101
Wichita, KS 67205                                Beaumont, TX 77701



AP account Services, LLC                         Credit Management, LP                       IRS
P.O. Box 692365                                  4200 International Pkwy                     Centralized Insolvency
San Antonio, TX 78269-2365                       Carrollton, TX 75007                        P.O. Box 7346
                                                                                             Philadelphia, PA 19101-7346



BSI                                              Dyck-O'Neal, INC                            Linda V Lathrop-Dickerson
1425 Greenway Drive, ste 400                     6060 N. Central Expressway, Siote 200       734 Catalina Dr
Irving, TX 75038                                 Dallas, TX 75206                            Lancaster, TX 75146




City Credit Union                                Emery C. Shannon                            Merchant Credit Adjusters, INc
xxxxxx0121                                       P.O. Box 72910                              Twenty Five D Building
7474 Ferguson Rd                                 Dallas, TX 75372                            4005 South 148th Street
Dallas, TX 75228                                                                              Ohama, NE 68137-5561
       Case 19-31423-bjh13 Doc 14 Filed 05/11/19                  Entered 05/11/19 12:39:03         Page 16 of 16
                                     UNITED STATES BANKRUPTCY COURT
                                        NORTHERN DISTRICT OF TEXAS
                                              DALLAS DIVISION

  IN RE: Linda V Lathrop-Dickerson                                         CASE NO.   19-31423-13
                                 Debtor


                                                                           CHAPTER    13
                               Joint Debtor

                                              CERTIFICATE OF SERVICE
                                                 (Continuation Sheet #1)

Methodist Hosp Efcu                           U.S. Attorney
xxxxxxxxxxxx3001                              1100 Commerce, 3rd floor
1441 N Beckley Ave                            Dallas, TX 75242
Dallas, TX 75203



Nrthstar Sys                                  U.S. Attorney General
xxxxx4063                                     U.S. Department Justice
1280 S 800 E                                  950 Pennsylvania Ave, NW
Orem, UT 84097                                Washington, DC 20530



Office of Standing Trustee                    U.S. Trustee
Thomas Powers                                 William T. Neary
105 Decker Ct. Suite 102                      1100 Commerce, Rm 976
Irving, TX 75062                              Dallas, TX 75242



PRA III, LLC                                  Volkswagen Credit, Inc
xxxx-xxxx-xxxx-3001                           xxxxx7908
P.O. Box 12914                                PO Box 3
Norfolk, VA 23541                             Hillsboro, OR 97123



Pro Collect, Inc
xxxxxxxxxxx6041
12170 N. Abrams Rd, Ste 100
Dallas, TX 75243



Riverver Financial
P.O. Box 3023
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